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                  Pretrial Order
                   Exhibit 6A
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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE




  UNITED STATES OF AMERICA,

                     Plaintiff,

              v.                                Civil Action No. 1:21-cv-01644-MN

 UNITED STATES SUGAR CORPORATION,
 UNITED SUGARS CORPORATION, IMPERIAL
 SUGAR COMPANY, and LOUIS DREYFUS
 COMPANY LLC.


                     Defendants.


                   UNITED STATES’ MOTION IN LIMINE NO. 1
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 807 F.2d 1381, 1389 (7th Cir. 1986) (Posner, J.).

        The United States has discovered communications between

            and               .



                                                                   . See, e.g., Geiger Decl., Exs. 2–5.



                                                                                                . See,

 e.g., Geiger Decl., Exs. 2–4, 6.



                                      . See Geiger Decl., Exs. 2, 3.

                       also communicates on a regular basis with

                       . Geiger Decl., Ex. 1 at 24:22-25:15, 239:22-240:11.



         . See, e.g., Geiger Decl., Exs. 7–9. In one episode,



                                                                         Geiger Decl., Exs. 7, 10.



                                                           . Id.

                                                                                        . Id.




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE



  UNITED STATES OF AMERICA,

                       Plaintiff,

         v.                                          C.A. No. 1:21-cv-01644-MN

  UNITED STATES SUGAR CORPORATION,
  UNITED SUGARS CORPORATION,
  IMPERIAL SUGAR COMPANY, and
  LOUIS DREYFUS COMPANY, LLC,

                       Defendants.


                           DECLARATION OF DAVID GEIGER

        I, David Geiger, declare as follows:

        1.     I am a Trial Attorney with the Antitrust Division of the United States

 Department of Justice (“Antitrust Division”). I submit this declaration in connection with

 the United States’ Motion in Limine for the Court to permit the United States to treat Alan

 Henderson, Mark Olson, and Adam Whittaker as hostile and to permit the use of leading

 questions on their direct examination.

        2.     Attached as Exhibit 1 is a true and correct copy of an excerpt from the

 transcript of the deposition of Eric Speece, taken on February 18, 2022.

        3.     Attached as Exhibit 2 is a true and correct copy of a document labeled with

 Bates numbers FCC-0099237–244, produced by Florida Crystals Corporation (“FCC”).

        4.     Attached as Exhibit 3 is a true and correct copy of a document labeled with

 Bates numbers FCC-00090971–977, produced by FCC.
Case 1:21-cv-01644-MN Document 174-2 Filed 04/04/22 Page 7 of 142 PageID #: 2704




        5.     Attached as Exhibit 4 is a true and correct copy of a document labeled with

 Bates numbers FCC-00074600–602, produced by FCC.

        6.     Attached as Exhibit 5 is a true and correct copy of a document labeled with

 Bates number FCCC-00092807, produced by FCC.

        7.     Attached as Exhibit 6 is a true and correct copy of a document labeled with

 Bates number FCC-00040182, produced by FCC.

        8.     Attached as Exhibit 7 is a true and correct copy of a document labeled with

 Bates numbers UNITED-DOJ-00128529–533, produced by United Sugars Corporation

 (“United”).

        9.     Attached as Exhibit 8 is a true and correct copy of a document labeled with

 Bates numbers UNITED-DOJ-00129422–423, produced by United.

        10.    Attached as Exhibit 9 is a true and correct copy of a document labeled with

 Bates numbers UNITED-DOJ-00169996–997, produced by United.

        11.    Attached as Exhibit 10 is a true and correct copy of a document labeled with

 Bates numbers FCC-00077148–151, produced by FCC.

        12.    Attached as Exhibit 11 is a true and correct copy of




        13.    Attached as Exhibit 12 is a true and correct copy of an excerpt from the

 transcript of the deposition of Alan Henderson, taken on March 4, 2022.

        14.    Attached as Exhibit 13 is a true and correct copy of an excerpt from the

 transcript of the deposition of Adam Whittaker, taken on February 18, 2022.



                                              2
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       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on March 22, 2022.


                                            /s/ David Geiger
                                            David Geiger
                                            Trial Attorney
                                            U.S. Department of Justice, Antitrust Division
                                            450 5th St. NW, Suite 7100
                                            Washington, DC 20001




                                               3
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                       Exhibits 1-13

                    Redacted in Full
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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  UNITED STATES OF AMERICA,                     )
                                                )
                       Plaintiff,               )
                                                )
         vs.                                    )
                                                )   C.A. No. 21-cv-1644 (MN)
  UNITED STATES SUGAR                           )
  CORPORATION, UNITED SUGARS                    )
  CORPORATION, IMPERIAL SUGAR                   )
  COMPANY, and LOUIS DREYFUS                    )
  COMPANY LLC,                                  )
                                                )
                       Defendants.              )

    DEFENDANTS’ OPPOSITION TO UNITED STATES’ MOTION IN LIMINE NO. 1

  MORRIS, NICHOLS, ARSHT & TUNNELL LLP              HOGAN MCDANIEL
  Jack B. Blumenfeld (#1014)                        Daniel K. Hogan (# 2841)
  Brian P. Egan (#6227)                             Daniel C. Kerrick (#5027)
  1201 North Market Street                          1311 Delaware Avenue, Suite 1
  P.O. Box 1347                                     Wilmington, DE 19806
  Wilmington, DE 19899                              (302) 656-7540
  (302) 658-9200                                    dhogan@dkhogan.com
  jblumenfeld@morrisnichols.com                     dckerrick@dkhogan.com
  began@morrisnichols.com
                                                    Attorneys for Defendant United Sugars
  Attorneys for Defendant United States Sugar       Corporation
  Corporation

                                                    RICHARDS, LAYTON & FINGER. P.A.
                                                    Kelly E. Farnan (# 4395)
                                                    One Rodney Square
                                                    Wilmington, DE 19801
                                                    (302) 651-7700
                                                    farnan@rlf.com

                                                    Attorneys for Defendants Imperial Sugar
                                                    Company and Louis Dreyfus Company LLC
  March 27, 2022
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         Plaintiff’s motion in limine implicates neither the admissibility of any evidence at trial or

  even an issue regarding trial procedure that is ripe for the Court’s consideration at this time. It

  instead involves an issue that the Court has wide discretion to determine in the normal course of

  trial, United States v. Long, 649 F. App’x 200, 202 (3d Cir. 2016)—especially in a bench trial.

  Although Defendants see no basis in Plaintiff’s motion for concluding now that the three Domino

  witnesses are adverse, Defendants defer to the Court’s discretion on the issue of whether the

  circumstances allow the use of leading questions with those or any other witnesses.1

         Plaintiff’s motion is a distraction from its inability to prove that the proposed acquisition

  would substantially lessen competition, and a harbinger that the United States intends to make the

  upcoming trial about claimed coordination between Domino and United—even though neither

  Domino nor United is a party to the challenged transaction. Indeed, the motion does not even

  mention either of the merging parties. That, in and of itself, shows how much of a sideshow this

  issue is. The United States has not cited any case, and Defendants are not aware of any, in which

  a court has permanently enjoined an acquisition based on potential coordination between

  companies, neither of which are parties to the merger agreement.




                                                 Spot prices are list prices, which are hardly confidential

  or difficult to obtain. United’s spot prices



  1
          The United States has informed Defendants that one of the three witnesses referenced in
  its motion, Mr. Olson, will testify by deposition designation, which renders this motion moot as to
  him.
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         . Spot prices, information about crop performance, and information about demand for

  refined sugar are regularly provided to customers and brokers that work for customers during the

  sales process. And because this information is relevant to customers, third-party analysts (just as

  in many other commodity industries) also collect this information and put it in newsletters, email

  blasts, and other publications that are sent to customers.2 The USDA (an agency of the Plaintiff)

  receives these publications as well, and publishes similar information on a monthly basis as part

  of its stated desire to “facilitate information sharing among stakeholders and generate the

  transparency that leads to well-functioning open markets.”3 Presumably, the USDA, which like

  DOJ is part of the government (and is a party in this action), would not publish such information

  if it believed doing so would harm customers or violate the law. In fact, the Supreme Court has

  long recognized that even information exchanges directly between competitors can benefit

  consumers, help regulatory efficiency, and “render markets more, rather than less, competitive.”

  United States v. U.S. Gypsum Co., 438 U.S. 422, 441 n.16 (1978).

         The reality is that there is intense competition today between numerous competitors, and

  the United States has never identified anything about U.S. Sugar’s acquisition of Imperial that is

  likely to change that. As the evidence at trial will show, the very idea of anyone at U.S. Sugar or

  at United working with Domino is anathema. But beyond that, the sugar industry contains

  powerful and sophisticated buyers (e.g., General Mills and Kraft) that enter into long-term

  contracts often through blind-bidding, and competitors such as Cargill, NSM, and CSC, which are


  2
          See, e.g., OPIS Pricing Overview: Spot, Rack & Retail Market Segments Explained, Oil
  Price Info. Serv., https://www.opisnet.com/product/pricing (providing “transparent pricing” on
  spot prices so that “all stakeholders can buy and sell oil and energy commodities with
  confidence”);              see           also           Commodities,             BLOOMBERG,
  https://www.bloomberg.com/markets/commodities (publicly available pricing information
  available in numerous commodities markets, such as agriculture, energy, metals).
  3
         About AOF, USDA, https://www.usda.gov/oce/ag-outlook-forum/about.


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                                                  MORRIS NICHOLS, ARSHT & TUNNELL LLP



                                                  /s/ Jack B. Blumenfeld

  OF COUNSEL:                                     Jack B. Blumenfeld (#1014)
                                                  Brian P. Egan (#6227)
  Lawrence E. Buterman                            1201 North Market Street
  LATHAM & WATKINS LLP                            P.O. Box 1347
  1271 Avenue of the Americas                     Wilmington, DE 19899
  New York, NY 10020                              (302) 658-9200
  (212) 906-1200                                  jblumenfeld@morrisnichols.com
                                                  began@morrisnichols.com
  Amanda P. Reeves
  Jennifer L. Giordano                            Attorneys for Defendant United States Sugar
  Lindsey S. Champlin                             Corporation
  Molly M. Barron
  David L. Johnson
  LATHAM & WATKINS LLP
  555 Eleventh Street, NW, Suite 1000
  Washington, DC 20004
  (202) 637-2200

  Christopher S. Yates
  LATHAM & WATKINS LLP
  505 Montgomery Street, Suite 2000
  San Francisco, CA 94111
  (415) 391-0600

  Elyse M. Greenwald
  LATHAM & WATKINS LLP
  10250 Constellation Boulevard, Suite 1100
  Los Angeles, CA 90067
  (213) 485-1234




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Case 1:21-cv-01644-MN Document 174-2 Filed 04/04/22 Page 15 of 142 PageID #: 2712




                                            HOGAN MCDANIEL

                                            /s/ Daniel K. Hogan

  OF COUNSEL:                               Daniel K. Hogan (#2814)
                                            Daniel C. Kerrick (#5027)
  Peter J. Schwingler                       1311 Delaware Avenue, Suite 1
  Jonathan Ripa                             Wilmington, DE 19806
  Lauren T. Fleming                         (302) 656-7540
  STINSON LLP                               dan@dkhogan.com
  50 South Sixth Street, Suite 2600         dckerrick@dkhogan.com
  Minneapolis, MN 55402
  (612) 335-1974
                                            Attorneys for Defendant United Sugars
                                            Corporation

                                            RICHARDS, LAYTON & FINGER, P.A.

                                            /s/ Kelly E. Farnan

  OF COUNSEL:                               Kelly E. Farnan (#4395)
                                            920 N. King St.
  Christine A. Varney                       Wilmington, DE 19801
  David R. Marriott                         (302) 651-7700
  Peter T. Barbur                           farnan@rlf.com
  Timothy G. Cameron
  Daniel K. Zach                            Attorneys for Defendants Imperial Sugar
  CRAVATH, SWAINE & MOORE LLP               Company and Louis Dreyfus Company LLC
  Worldwide Plaza
  825 Eighth Avenue
  New York, NY 10019

  Amanda L. Wait
  Vic Domen
  NORTON ROSE FULBRIGHT US LLP
  799 Ninth Street, NW, Suite 1000
  Washington, DC 20001
  (202) 662-4550

  Darryl Wade Anderson
  NORTON ROSE FULBRIGHT US LLP
  1301 McKinney St. Suite 5100
  Houston, TX 77010
  (713) 651-5562




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                                   CERTIFICATE OF SERVICE


         I, Jack B. Blumenfeld, certify that this 27th day of March, 2022, I caused a true and

  correct copy of the foregoing Opposition to Plaintiff’s Motion In Limine No. 1 to be served upon

  all counsel of record, to include the below, via electronic mail.

   Laura D. Hatcher                                                     VIA ELECTRONIC MAIL
   Shamoor Anis
   UNITED STATES ATTORNEY’S OFFICE
   DISTRICT OF DELAWARE
   1313 North Market Street, Suite 400
   Wilmington, DE 19801
   Attorneys for Plaintiff

   Brian Hanna                                                          VIA ELECTRONIC MAIL
   John R. Thornburgh II
   Jonathan Y. Mincer
   Jessica J. Taticchi
   Jenigh J. Garrett
   Chinita M. Sinkler
   Jill Ptacek
   Curtis W. Strong
   Michael E. Wolin
   Stephanie E. Pearl
   Ryan M. Sandrock
   David Geiger
   Thomas P. DeMatteo
   U.S. DEPARTMENT OF JUSTICE
   ANTITRUST DIVISION
   450 Fifth Street NW, Suite 8000
   Washington, DC 20530
   Attorneys for Plaintiff

                                                     /s/ Jack B. Blumenfeld
                                                     Jack B. Blumenfeld (#1014)
Case 1:21-cv-01644-MN Document 174-2 Filed 04/04/22 Page 17 of 142 PageID #: 2714




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE




  UNITED STATES OF AMERICA,

                      Plaintiff,

              v.                                 Civil Action No. 1:21-cv-01644-MN

 UNITED STATES SUGAR CORPORATION,
 UNITED SUGARS CORPORATION, IMPERIAL
 SUGAR COMPANY, and LOUIS DREYFUS
 COMPANY LLC.


                      Defendants.


      UNITED STATES’ REPLY IN SUPPORT OF ITS MOTION IN LIMINE NO. 1
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            Defendants’ opposition punts on the key question for the Court: are the interests and

  incentives of the three Domino witnesses hostile to those of the United States, such that there is

  little danger of suggestion by leading questions by the United States? The answer is yes, and

  Defendants provide no basis to contest that conclusion.

            “Exchanges of current price information [among competitors] . . . have consistently been

  held to violate the Sherman Act.” United States v. U.S. Gypsum Co., 438 U.S. 422, 441 n.16

  (1978).

                              . Not so. First, Defendants prove the point by stating three times that spot

  prices are provided to customers. Of course, United and Domino are competitors.1 Second,



                          :

                                         . See Declaration of David Geiger, Mar. 22, 2022, Exs. 2-10.

  Third, Defendants claim that the USDA provides “similar information.” That is false. The USDA

  provides historical aggregated monthly pricing for refined cane sugar in the Northeast and

  refined beet sugar in the Midwest—not pricing and                                                      .




                                                            Plaintiff asks the Court to permit Plaintiff to

  use leading questions on direct examination of all Domino witnesses.2 This issue is ripe now to

  facilitate orderly preparation and presentation at trial. See, e.g., SEC v. Jacobs, 2014 WL

  12597832, at *3 (N.D. Ohio Feb. 25, 2014) (granting motion in limine to treat witness as hostile).


  1
    Defendants’ arguments about the relationship between U.S. Sugar and United ignore the market
  realities of competition for refined sugar and are tangential to this motion.
  2
    The motion is not moot with respect to Mr. Olson because Defendants have objected to certain
  of the United States’ designated deposition questions as leading.
                                                        1
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          Defendants move in limine to preclude Plaintiff’s economic expert, Dr. Dov Rothman,

  from offering an opinion at trial that the incentives of U.S. Sugar and United’s three other members

  are aligned as if they are a single entity acquiring Imperial.1

          U.S. Sugar is acquiring Imperial. However, Dr. Rothman ignores how that transaction will

  affect competition, and instead analyzes a hypothetical acquisition of Imperial by a separate

  corporation, United—the Minnesota cooperative that markets the sugar refined by U.S. Sugar and

  three other independent farming companies. Dr. Rothman asserts that it is appropriate to view

  United as the relevant economic actor because U.S. Sugar and United’s other member-owners’

  incentives supposedly “are aligned as if they are a single entity acquiring Imperial.” Ex. A, ¶ 8.

  But that is ipse dixit: Dr. Rothman conducted no economic analysis to support that critical

  assertion, and cites no record evidence to support it either. As a district court concluded in another

  antitrust matter in which Dr. Rothman sought to render a bare conclusion, “[o]ne would think an

  economist such as Dr. Rothman would support such an assertion with some economic analysis,”

  and his “failure to proffer any evidentiary support for [his] contentions is telling.” Aya Healthcare

  Servs. v. AMN Healthcare, 2020 WL 3414662, at *4 (S.D. Cal. June 22, 2020). Having failed to

  provide any basis for his conclusion that U.S. Sugar’s and United’s other members’ incentives are

  aligned as if they are a single entity acquiring Imperial, Dr. Rothman should not be permitted to

  present that opinion at trial.

                                             ARGUMENT

          A testifying expert must submit a written report containing a “complete statement of all

  opinions the witness will express and the basis and reasons for them.” Fed. R. Civ.



  1
    Plaintiff provided a report from Dr. Rothman on February 28, and later provided a “corrected”
  report. Ex. A is an excerpt of Dr. Rothman’s March 4, 2022 Corrected Expert Report containing
  the paragraphs at issue in this motion.
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  P. 26(a)(2)(B)(i). This complete disclosure requirement is critical to “prevent a party from being

  unfairly surprised by the presentation of new evidence.” Alza Corp. v. Andrx Pharma., 2008 WL

  1886042, at *2 (D. Del. Apr. 28, 2008). For that reason, an expert cannot testify about opinions

  not adequately disclosed and substantiated. See Fed. R. Civ. P. 37(c)(1); see also Gen. Elec. v.

  Joiner, 522 U.S. 136, 146 (1997) (“Nothing in either Daubert or the Federal Rules of Evidence

  requires a district court to admit opinion evidence that is connected to existing data only by the

  ipse dixit of the expert.”); Elcock v. Kmart Corp., 233 F.3d 734, 755-56 (3d Cir. 2000). These

  foundational rules preclude Dr. Rothman from offering an opinion about the incentives of United’s

  members.

         Dr. Rothman’s report analyzes only a hypothetical acquisition of Imperial by United (not

  U.S. Sugar’s actual acquisition of Imperial), and treats U.S. Sugar and United as if they are

  interchangeable entities even though they are admittedly separate companies. Compl. ¶¶ 8-9, D.I.

  1. This conflation has significant consequences. First, it misrepresents where sugar purchased in

  the DOJ’s alleged markets ships from. The premise of Plaintiff’s case is that customers supposedly

  only buy sugar from suppliers located immediately nearby. See, e.g., id. ¶ 24; Ex. A ¶ 9

  (“[G]eographic proximity to wholesale customers matters.”). In reality, a significant portion of

  the sugar sold in the alleged markets ships from outside DOJ’s arbitrarily-defined areas, including

  from Louisiana, North Dakota, Minnesota, and elsewhere. Indeed, much of the sugar that United

  sells in the alleged markets comes from its independent members in the upper Midwest, not from

  the U.S. Sugar facility in Florida that Dr. Rothman describes as “well-situated to supply wholesale

  customers in the southeast region of the United States.” Ex. A, ¶ 9. By ignoring the independent

  identities of United’s members, Dr. Rothman obscures the true distances that sugar flows to reach

  customers. Second, it is only by replacing U.S. Sugar with United (and aggregating all four of




                                                  2
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  United’s members) that Dr. Rothman is able to manufacture concentration figures that he contends

  raise competitive concerns. Id. ¶¶ 12, 110. And third, those concentration figures would be

  meaningless under the vertical-merger framework needed to appropriately account for

  U.S. Sugar’s actual identity as a refiner, but not a seller, of sugar.

          Dr. Rothman treats U.S. Sugar and United interchangeably. But, “[a] court may not

  disregard at will the formal differences between affiliated corporations.” Am. Bell v. Fed’n of Tel.

  Workers of Pa., 736 F.2d 879, 886 (3d Cir. 1984). There is a well-developed body of law as to

  when a court may treat affiliated entities as alter-egos, and “the test has been described as

  ‘notoriously difficult for plaintiffs to meet.’” Gov’t Dev. Bank for P.R. v. Holt Marine Term., 2011

  WL 1135944, at *30 (E.D. Pa. Mar. 24, 2011); see also Urban v. Am. Legion Post 184, 695 N.W.2d

  153, 161 (Minn. Ct. App. 2005). Dr. Rothman’s report does not address that standard, contain

  economic analysis about it, or cite any evidence to support his assertion that all United members’

  incentives are aligned for purposes of this transaction. An expert’s mere assumptions, unsupported

  by evidence or actual expert tradecraft, are not admissible. See Elcock, 233 F.3d at 756.

          Dr. Rothman’s unsupported assertion that four independent companies have entirely

  aligned incentives is factually incorrect.2       However, the issue in this motion is whether

  Dr. Rothman should be permitted to offer that opinion when he did not do the necessary expert

  analysis to support it. Allowing Dr. Rothman to testify about any assessment of this issue would

  run counter to the requirements of Rule 26 and prejudice Defendants.




  2
   Each of United’s members unilaterally decide how much sugar to produce, when to produce it,
  what investments to make in their facilities, and those unilateral decisions (and others) affect each
  United member differently. See Ex. B, Expert Rebuttal Report of Dr. Hill ¶¶ 22-24, 97-105.


                                                     3
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                                                  MORRIS NICHOLS, ARSHT & TUNNELL LLP

                                                  /s/ Jack B. Blumenfeld

  OF COUNSEL:                                     Jack B. Blumenfeld (#1014)
                                                  Brian P. Egan (#6227)
  Lawrence E. Buterman                            1201 North Market Street
  LATHAM & WATKINS LLP                            P.O. Box 1347
  1271 Avenue of the Americas                     Wilmington, DE 19899
  New York, NY 10020                              (302) 658-9200
  (212) 906-1200                                  jblumenfeld@morrisnichols.com
                                                  began@morrisnichols.com
  Amanda P. Reeves
  Jennifer L. Giordano                            Attorneys for Defendant United States Sugar
  Lindsey S. Champlin                             Corporation
  Molly M. Barron
  David L. Johnson
  LATHAM & WATKINS LLP
  555 Eleventh Street, NW, Suite 1000
  Washington, DC 20004
  (202) 637-2200

  Christopher S. Yates
  LATHAM & WATKINS LLP
  505 Montgomery Street, Suite 2000
  San Francisco, CA 94111
  (415) 391-0600

  Elyse M. Greenwald
  LATHAM & WATKINS LLP
  10250 Constellation Boulevard, Suite 1100
  Los Angeles, CA 90067
  (213) 485-1234




                                              4
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                                            HOGAN MCDANIEL

                                            /s/ Daniel K. Hogan

  OF COUNSEL:                               Daniel K. Hogan (#2814)
                                            Daniel C. Kerrick (#5027)
  Peter J. Schwingler                       1311 Delaware Avenue, Suite 1
  Jonathan Ripa                             Wilmington, DE 19806
  Lauren T. Fleming                         (302) 656-7540
  STINSON LLP                               dan@dkhogan.com
  50 South Sixth Street, Suite 2600         dckerrick@dkhogan.com
  Minneapolis, MN 55402
  (612) 335-1974
                                            Attorneys for Defendant United Sugars
                                            Corporation

                                            RICHARDS, LAYTON & FINGER, P.A.

                                            /s/ Kelly E. Farnan

  OF COUNSEL:                               Kelly E. Farnan (#4395)
                                            920 N. King St.
  Christine A. Varney                       Wilmington, DE 19801
  David R. Marriott                         (302) 651-7700
  Peter T. Barbur                           farnan@rlf.com
  Timothy G. Cameron
  Daniel K. Zach                            Attorneys for Defendants Imperial Sugar
  CRAVATH, SWAINE & MOORE LLP               Company and Louis Dreyfus Company LLC
  Worldwide Plaza
  825 Eighth Avenue
  New York, NY 10019

  Amanda L. Wait
  Vic Domen
  NORTON ROSE FULBRIGHT US LLP
  799 Ninth Street, NW, Suite 1000
  Washington, DC 20001
  (202) 662-4550

  Darryl Wade Anderson
  NORTON ROSE FULBRIGHT US LLP
  1301 McKinney St. Suite 5100
  Houston, TX 77010
  (713) 651-5562




                                        5
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                                   CERTIFICATE OF SERVICE

         I , Jack B. Blumenfeld, certify that this 22nd day of March, 2022, I caused a true and

  correct copy of the foregoing Defendant’s Motion in limine to be served upon all counsel of

  record, to include the below, via electronic mail.

   Laura D. Hatcher                                                        VIA ELECTRONIC MAIL
   Shamoor Anis
   UNITED STATES ATTORNEY’S OFFICE DISTRICT
   OF DELAWARE
   1313 North Market Street, Suite 400
   Wilmington, DE 19801
   Attorneys for Plaintiff

   Brian Hanna                                                             VIA ELECTRONIC MAIL
   John R. Thornburgh II
   Jonathan Y. Mincer
   Jessica J. Taticchi
   Jenigh J. Garrett
   Chinita M. Sinkler
   Jill Ptacek
   Curtis W. Strong
   Michael E. Wolin
   Stephanie E. Pearl
   Ryan M. Sandrock
   David Geiger
   Thomas P. DeMatteo
   U.S. DEPARTMENT OF JUSTICE
   ANTITRUST DIVISION
   450 Fifth Street NW, Suite 8000
   Washington, DC 20530
   Attorneys for Plaintiff

                                                       /s/ Jack B. Blumenfeld

                                                       Jack B. Blumenfeld (#1014)
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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE




  UNITED STATES OF AMERICA,

                      Plaintiff,

              v.                                 Civil Action No. 1:21-cv-01644-MN

 UNITED STATES SUGAR CORPORATION,
 UNITED SUGARS CORPORATION,
 IMPERIAL SUGAR COMPANY, and LOUIS
 DREYFUS COMPANY LLC.


                      Defendants.


    THE UNITED STATES’ OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE
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         Plaintiff’s economic expert, Dr. Dov Rothman, analyzed the economic reality of the

  proposed transaction: U.S. Sugar and the other United member-owners operate as a single

  competitor in the market for the production and sale of refined sugar. Ex. 1 (Expert Report of

  Dov Rothman), ¶ 110. It is undisputed that United is the exclusive means for U.S. Sugar’s

  refined sugar products to reach customers. Defendants’ Answer and Defenses, D.I. 72, ¶ 4

  (Preliminary Statement), Response to ¶ 2; Ex. 2 (Expert Report of Nicholas Hill). It is

  undisputed that United pools the sugar refined by its member-owners and sells it at prices

  negotiated exclusively by United. Ex. 2, ¶ 15; see also Ex. 1, ¶ 44. If the merger is allowed,

  Imperial’s sugar will join this pool, and United will be the exclusive means for Imperial’s refined

  sugar products to reach customers. Ex. 2, ¶ 15; Ex. 3 (PTX-553), at 2-3 (agreement between

  United and its member-owners providing for Imperial’s sugar to be marketed by United, post-

  closing).

         Recognizing this economic reality, both Dr. Rothman and Defendants’ own economic

  expert, Dr. Nicholas Hill, analyze competition between Imperial and United, not U.S. Sugar. See,

  e.g., Ex. 2, ¶ 169 (assigning market share to United, not U.S. Sugar), ¶ 236 (providing “evidence

  that Imperial and United compete with a host of other refined sugar suppliers”). Both experts

  also evaluate how the transaction would affect pricing negotiated by United. Ex. 1, ¶¶ 189, 196,

  212; Ex. 2, ¶¶ 251, 252, 260. This is because, as both experts agree, competition to supply

  customers with refined sugar is driven by individually negotiated prices. Ex. 1, ¶ 59; Ex. 2, ¶ 56;

  see also Ex. 2, ¶¶ 249-250 (both experts used “the same auction form” to analyze the market).

         Defendants argue that United member-owners make unilateral decisions about

  production. Motion at 3 n.2. But that is irrelevant: neither expert models competition among

  sugar suppliers based on production decisions. Instead, price drives competition. Because only

  United negotiates pricing for U.S. Sugar’s refined sugar products, and because United’s member-

                                                   1
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  owners do not and cannot compete with each other on price, United is the relevant economic

  actor to analyze the effect of the proposed acquisition on customers. Ex. 1, ¶ 110.

         None of the cases cited by Defendants support their argument. Defendants first rely on

  cases making the general point that experts cannot testify about undisclosed and unsubstantiated

  opinions. Motion at 2. These cases do not apply. Dr. Rothman disclosed and justified his

  opinions in his initial report and responded to Dr. Hill’s criticism in his reply report. Ex. 1, ¶¶ 8,

  43, 44, 47, 110; Ex. 4 (Reply Report of Dov Rothman), ¶¶ 8, 68-72. Defendants’ claim that they

  have been prejudiced by Dr. Rothman’s analysis of the undisputed facts surrounding the

  structure of United is not credible. Defendants will be able to fully cross-examine Dr. Rothman

  on his opinions in deposition and at trial.

         The cases that Defendants cite about piercing the corporate veil are irrelevant, and none

  of them relate to antitrust analysis. Motion at 3; see Am. Bell Inc. v. Fed’n of Tel. Workers of Pa.,

  736 F.2d 879, 886 (3d Cir. 1984) (breach of a labor contract); Gov’t Dev. Bank for P.R. v. Holt

  Marine Term., Inc., No. 02-7825, 2011 WL 1135944, at *30 (E.D. Pa. Mar. 24, 2011) (ERISA

  claim); Urban v. Am. Legion Post 184, 695 N.W.2d 153, 161 (Minn. Ct. App. 2005) (car crash).

         Unlike other areas of the law, antitrust law focuses on economic reality, not on technical

  distinctions about corporate form. Courts do not “allow corporate forms to be used as a tool to

  flout antitrust laws.” See Cmty. Publishers, Inc. v. Donrey Corp., 882 F. Supp. 138, 140-141

  (W.D. Ark. 1995) (collecting cases), aff’d sub nom. Cmty. Publishers, Inc. v. DR Partners, 139

  F.3d 1180, 1183, 1185 (8th Cir. 1998). “Antitrust policy requires the courts to seek the economic

  substance of an arrangement, not merely its form.” Weiss v. York Hosp., 745 F.2d 786, 815 (3d

  Cir. 1984); see also Am. Needle, Inc. v. Nat’l Football League, 560 U.S. 183, 191 (2010) (the

  Supreme Court has “eschewed such formalistic distinctions in favor of a functional consideration

  of how the parties involved in the alleged anticompetitive conduct actually operate”); FTC v.

                                                     2
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  Hackensack Meridian Health, Inc., No. 21-2603, 2022 WL 840463, at *4 (3d Cir. Mar. 22, 2022)

  (“We must always consider the commercial realities of the industry involved.”).

         For this reason, where the commercial realities show that different firms effectively

  compete as a single or coordinated unit in the relevant market, those firms’ market shares should

  be combined. See, e.g., United States v. Anthem, Inc., 236 F. Supp. 3d 171, 210 (D.D.C. 2017)

  (combining shares of Blue Cross licensees), aff’d, 855 F.3d 345 (D.C. Cir. 2017); Consol. Gold

  Fields PLC v. Minorco, SA, 871 F.2d 252, 261 (2d Cir. 1989) (affirming decision aggregating

  market power of companies with “intertwined relationships” despite “separate corporate

  existence”); Cmty. Publishers, 139 F.3d at 1183 (affirming decision to “aggregate the interests of

  [two defendants] for purposes of Section 7 analysis”). The same is true here.

         The Court also should deny Defendants’ motion for an independent reason: Defendants

  seek to exclude Dr. Rothman’s opinions under the principles of Daubert v. Merrell Dow

  Pharmaceuticals, Inc., 509 U.S. 579 (1993), which the Court’s Scheduling Order bars them from

  doing without leave of Court. D.I. 70 at 8. Defendants have not sought or received such leave.

  Defendants avoid mentioning Federal Rule of Evidence 702, but their cited authority makes clear

  this is the basis of their motion. See, e.g., Gen. Elec. Co. v. Joiner, 522 U.S. 136, 139, 146-47

  (1997) (holding that district court did not abuse its discretion when it excluded expert testimony

  under Daubert) (cited in Motion at 2).1

         At best, Defendants’ motion presents a disputed issue of fact that will be addressed at

  trial. Trial testimony will quickly confirm the facts showing that United is the relevant economic

  actor that will harm competition post-transaction. The Court should deny Defendants’ motion.




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   Because they cannot rely on Daubert, Defendants alternate between claiming that Dr. Rothman
  has not adequately disclosed the very opinion they challenge, and arguing that he “failed to
  provide any basis for his conclusion.” Motion at 1-2; see Fed. R. Evid. 702(b).
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE



   UNITED STATES OF AMERICA,

                        Plaintiff,

          v.                                          C.A. No. 1:21-cv-01644-MN

   UNITED STATES SUGAR CORPORATION,
   UNITED SUGARS CORPORATION,
   IMPERIAL SUGAR COMPANY, and
   LOUIS DREYFUS COMPANY, LLC,

                        Defendants.


                           DECLARATION OF MICHAEL WOLIN

         I, Michael Wolin, declare as follows:

         1.     I am a Trial Attorney with the Antitrust Division of the United States

  Department of Justice (“Antitrust Division”). I submit this declaration in connection with

  the United States’ Opposition to the Defendants’ Motion in Limine.

         2.     Attached as Exhibit 1 is a true and correct copy of excerpts from the

  Corrected Expert Report of Dov Rothman, Ph.D., dated March 4, 2022.

         3.     Attached as Exhibit 2 is a true and correct copy of excerpts from the Expert

  Rebuttal Report of Nicholas Hill, Ph.D., dated March 14, 2022.

         4.     Attached as Exhibit 3 is a true and correct copy of a document produced by

  U.S. Sugar bearing bates number USSUGAR-2R-00000153 through USSUGAR-2R-

  00000163, which Plaintiff has marked as PTX-553.

         5.     Attached as Exhibit 4 is a true and correct copy of excerpts from the Expert

  Reply Report of Dov Rothman, Ph.D., dated March 25, 2022.

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       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on March 27, 2022.


                                            /s/ Michael Wolin
                                            Michael Wolin
                                            Trial Attorney
                                            U.S. Department of Justice, Antitrust Division
                                            450 5th St. NW, Suite 7100
                                            Washington, DC 20001




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         Plaintiff’s opposition confirms that Dr. Rothman did not analyze the impact of U.S. Sugar

  owning Imperial (i.e., the acquisition Plaintiff seeks to block) or conduct any economic analysis

  to support his assertion that it is appropriate to treat United as the entity acquiring Imperial.

         Plaintiff seeks to dismiss this failure by arguing that the fact that U.S. Sugar makes

  independent decisions about its production of sugar is “irrelevant.” That is simply wrong.

  Plaintiff’s alleged product market is “the production and sale of refined sugar.” Opp. at 1. Plaintiff

  also asserts that “price drives competition” and, because United negotiates prices for its members,

  it—not U.S. Sugar—is the relevant actor. Plaintiff ignores basic economics, which dictates that

  price cannot be divorced from supply, as Dr. Rothman acknowledges when he says that “a firm

  that produces a greater quantity will sell more units, but it will likely need to offer lower prices to

  do so.” Ex. 1, Rep. ¶ 191; Ex. C, Reply ¶ 158 (“increasing prices would decrease the quantity they

  sell”). That makes particularly suspect Dr. Rothman’s failure to analyze whether sales incentives

  can (or should) be viewed separately from production incentives. U.S. Sugar independently

  determines how much sugar it produces, the same way each other member of United alone

  determines how much sugar it produces. Without considering the price ramifications of that, Dr.

  Rothman’s claim of aligned incentives and treatment of United as the acquiring entity is unsound.

         Plaintiff’s response also raises a more fundamental problem. Plaintiff tries to justify Dr.

  Rothman’s failure of analysis by noting that there is a separate marketing agreement that provides

  that United will market sugar produced by Imperial post-acquisition. However, the Capper

  Volstead Act specifically provides an antitrust exemption for associations and their members

  entering into marketing agreements. 7 U.S.C. § 291. Plaintiff cannot utilize Clayton Act Section

  7 to block this acquisition based on a claimed effect of the marketing agreement (as opposed to

  the U.S. Sugar Asset Purchase Agreement) on United’s size and competition in the market.
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                                                   MORRIS NICHOLS, ARSHT & TUNNELL LLP


                                                   /s/ Jack. B. Blumenfeld
   OF COUNSEL:                                     Jack B. Blumenfeld (#1014)
                                                   Brian P. Egan (#6227)
   Lawrence E. Buterman                            1201 North Market Street
   LATHAM & WATKINS LLP                            P.O. Box 1347
   1271 Avenue of the Americas                     Wilmington, DE 19899
   New York, NY 10020                              (302) 658-9200
   (212) 906-1200                                  jblumenfeld@morrisnichols.com
                                                   began@morrisnichols.com
   Amanda P. Reeves
   Jennifer L. Giordano                            Attorneys for Defendant United States Sugar
   Lindsey S. Champlin                             Corporation
   Molly M. Barron
   David L. Johnson
   LATHAM & WATKINS LLP
   555 Eleventh Street, NW, Suite 1000
   Washington, DC 20004
   (202) 637-2200

   Christopher S. Yates
   LATHAM & WATKINS LLP
   505 Montgomery Street, Suite 2000
   San Francisco, CA 94111
   (415) 391-0600

   Elyse M. Greenwald
   LATHAM & WATKINS LLP
   10250 Constellation Boulevard, Suite 1100
   Los Angeles, CA 90067
   (213) 485-1234




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                                            HOGAN MCDANIEL


                                        /s/ Daniel K. Hogan
   OF COUNSEL:                           Daniel K. Hogan (#2814)
                                         Daniel C. Kerrick (#5027)
   Peter J. Schwingler                   1311 Delaware Avenue, Suite 1
   Jonathan Ripa                         Wilmington, DE 19806
   Lauren T. Fleming                     (302) 656-7540
   STINSON LLP                           dan@dkhogan.com
   50 South Sixth Street, Suite 2600     dckerrick@dkhogan.com
   Minneapolis, MN 55402
   (612) 335-1974
                                            Attorneys for Defendant United Sugars
                                            Corporation

                                            RICHARDS, LAYTON & FINGER, P.A.


                                            /s/ Kelly E. Farnan
   OF COUNSEL:                              Kelly E. Farnan (#4395)
                                            920 N. King St.
   Christine A. Varney                      Wilmington, DE 19801
   David R. Marriott                        (302) 651-7700
   Peter T. Barbur                          farnan@rlf.com
   Timothy G. Cameron
   Daniel K. Zach                           Attorneys for Defendants Imperial Sugar
   CRAVATH, SWAINE & MOORE LLP              Company and Louis Dreyfus Company LLC
   Worldwide Plaza
   825 Eighth Avenue
   New York, NY 10019

   Amanda L. Wait
   Vic Domen
   NORTON ROSE FULBRIGHT US LLP
   799 Ninth Street, NW, Suite 1000
   Washington, DC 20001
   (202) 662-4550

   Darryl Wade Anderson
   NORTON ROSE FULBRIGHT US LLP
   1301 McKinney St. Suite 5100
   Houston, TX 77010
   (713) 651-5562




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                                   CERTIFICATE OF SERVICE

         I , Jack B. Blumenfeld, certify that this 28nd day of March, 2022, I caused a true and

  correct copy of the foregoing Reply In Support of Defendants’ Motion In Limine to be served

  upon all counsel of record, to include the below, via electronic mail.

   Laura D. Hatcher                                                        VIA ELECTRONIC MAIL
   Shamoor Anis
   UNITED STATES ATTORNEY’S OFFICE DISTRICT
   OF DELAWARE
   1313 North Market Street, Suite 400
   Wilmington, DE 19801
   Attorneys for Plaintiff

   Brian Hanna                                                             VIA ELECTRONIC MAIL
   John R. Thornburgh II
   Jonathan Y. Mincer
   Jessica J. Taticchi
   Jenigh J. Garrett
   Chinita M. Sinkler
   Jill Ptacek
   Curtis W. Strong
   Michael E. Wolin
   Stephanie E. Pearl
   Ryan M. Sandrock
   David Geiger
   Thomas P. DeMatteo
   U.S. DEPARTMENT OF JUSTICE
   ANTITRUST DIVISION
   450 Fifth Street NW, Suite 8000
   Washington, DC 20530
   Attorneys for Plaintiff

                                                     /s/ Jack B. Blumenfeld

                                                     Jack B. Blumenfeld (#1014)
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                             EXHIBIT C
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